                                                                               Case 4:07-cv-05944-JST Document 3498 Filed 01/29/15 Page 1 of 2




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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER GRANTING
                                                                         10   This Order Relates To:                  )   ADMINISTRATIVE MOTIONS FOR
                               For the Northern District of California
United States District Court




                                                                                                                      )   LEAVE TO FILE UNDER SEAL
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
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                                                                         18        Now before the Court are 71 administrative motions for leave
                                                                         19   to file under seal portions of briefs, declarations, exhibits and
                                                                         20   other documents related to dispositive and non-dispositive motions.
                                                                         21   See ECF Nos. 2968, 2971, 2974, 2975, 2980, 2981, 2985, 2986, 2989,
                                                                         22   2993, 2998, 2999, 3005, 3007, 3009, 3020, 3022, 3023, 3033, 3036,
                                                                         23   3039, 3041, 3051, 3062, 3064, 3107, 3168, 3169, 3173, 3175, 3230,
                                                                         24   3234, 3236, 3238, 3243, 3245, 3248, 3250, 3251, 3253, 3258, 3261,
                                                                         25   3262, 3265, 3266, 3269, 3270, 3278, 3281, 3282, 3284, 3374, 3397,
                                                                         26   3403, 3407, 3408, 3426, 3433, 3435, 3439, 3441, 3445, 3450, 3453,
                                                                         27   3457, 3460, 3462, 3464, 3466, 3470, 3475.        These motions are
                                                                         28   voluminous, and the Court simply lacks the capacity to conduct a
                                                                               Case 4:07-cv-05944-JST Document 3498 Filed 01/29/15 Page 2 of 2




                                                                          1   thorough review of all the parties' submissions and their claims of
                                                                          2   sealability.   Accordingly, as the Court has done previously, the
                                                                          3   motions are GRANTED with the proviso that "the Court will look
                                                                          4   favorably upon motions to intervene filed by members of the public
                                                                          5   who wish to access the sealed documents."        ECF No. 1512, at 1.
                                                                          6
                                                                          7        IT IS SO ORDERED.
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                                                                          9        Dated: January 29, 2015
                                                                         10                                        UNITED STATES DISTRICT JUDGE
                               For the Northern District of California
United States District Court




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